












Dismissed and Memorandum Opinion filed March 11, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-01010-CV

____________

&nbsp;

IN THE MATTER OF W.M.M., Appellant

&nbsp;

&nbsp;



On Appeal from the 314th District Court

Harris County, Texas

Trial Court Cause No. 2009-05755J



&nbsp;

MEMORANDUM
OPINION

This appeal is from a judgment signed November 10, 2009.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On February 1, 2010, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App. P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

PER CURIAM

Panel consists of Justices
Yates, Seymore, and Brown. &nbsp;





